                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 1 of 23


                                 RYAN R. GORDON (SBN 278414)
                            1    VANESSA T. SHAKIB (SBN 287339)
                            2    ADVANCING LAW FOR ANIMALS
                                 407 N. Pacific Coast Highway #267
                            3    Redondo Beach, CA 90277
                                 Tel: (202) 996-8389
                            4    rgordon@advancinglawforanimals.org
                                 vshakib@advancinglawforanimals.org
                            5
                            6    DANIEL J. KOLDE, ESQ.
                                 LAW OFFICES OF DANIEL J. KOLDE
                            7    P.O. Box 440344
                                 St. Louis, Missouri 63144-9998
                            8    Tel: 636.675.5383
                                 Email: daniel.kolde.law@gmail.com
                            9
                                 (pro hac vice application to be filed)
                            10
                                 Attorneys for Plaintiffs
                            11
ADVANCING LAW FOR ANIMALS




                                                             UNITED STATES DISTRICT COURT
                            12
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13                                   SACRAMENTO DIVISION
                            14
                            15   E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                                 guardian, JESSICA LONG; JESSICA LONG, an
                            16   individual,                                   DECLARATION OF RYAN R. GORDON IN
                                                 Plaintiffs,                   SUPPORT OF PLAINTIFF’S MOTIONS TO
                            17            v.                                   COMPEL (ECF Nos. 52, 54, 55, and 56)
                            18   LIEUTENANT JERRY FERNANDEZ, in his
                                 individual capacity; DETECTIVE JACOB          Date: March 20, 2024
                            19   DUNCAN, in his individual capacity;           Time: 10:00 am.
                                 DETECTIVE JEREMY ASHBEE, in his               Courtroom: 26, 8th Floor
                            20   individual capacity; SHASTA DISTRICT FAIR
                                 AND EVENT CENTER, a district agricultural     Trial Date: March 24, 2025
                            21
                                 association; COUNTY OF SHASTA; SHASTA
                            22   COUNTY SHERIFF’S DEPARTMENT;                  Action Filed: August 31, 202
                                 MELANIE SILVA, in her individual and official
                            23   capacity; BJ MACFARLANE, in his individual
                                 and official capacity; KATHIE MUSE, in her
                            24   individual and official capacity, and DOES 1
                                 through 10,
                            25
                            26
                            27
                            28
                                                                           1
                                            DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 2 of 23



                            1                                 DECLARATION OF RYAN R. GORDON

                            2    I, Ryan Gordon, declare as follows:
                            3           1.     I am an attorney at law duly licensed to practice law before all the courts of the State of

                            4    California, as well as admitted to practice in the United States District Courts for the Eastern and
                            5    Central Districts of California. I am over 18 years of age. I have personal knowledge of the matters set
                            6    forth herein and, if called upon, I could and would competently testify thereto. I made this declaration
                            7    in support of Plaintiff Jessica Long’s Motions To Compel (1) Production Of Subpoenaed Documents
                            8    From Non-Party Vista Real Estate (ECF 52); (2) Production Of Subpoenaed Documents From Non-
                            9    Party Verizon Related To Defendant Shasta District Fair & Event Center’s Work Cell Phone For
                            10   Melanie Silva (ECF 54); Production Of Subpoenaed Documents From Non-Party Verizon Related To
                            11   Melanie Silva’s Cell Phone (ECF 55); and Production Of Subpoenaed Documents From Non-Party
ADVANCING LAW FOR ANIMALS




                            12   Verizon Related To Kathie Muse’s Cell Phone (ECF 56.)
                            13          2.     I am the attorney of record for Plaintiff Jessica Long (“Mrs. Long”) and her minor
                            14   daughter, Plaintiff E.L., proceeding by and through her guardian ad litem, Mrs. Long, in the above
                            15   captioned action.
                            16          3.     Plaintiffs have brought civil rights claims following their decision to remove their goat,
                            17   Cedar, from the Shasta County Fair’s Junior Livestock action on June 25, 2022. They allege they
                            18   bought a young goat, Cedar, who Plaintiff E.L., then nine (9), bonded with after having raised him. The
                            19   auction was terminal and Cedar would have died that evening, so Plaintiffs allege they decided to save
                            20   his life and hide him while they negotiated a resolution with Defendant Shasta District Fair & Event
                            21   Center (SDF), which demanded his immediate return. Thereafter, officers at the Shasta County
                            22   Sheriff’s Department admittedly drove approximately 500 miles from Shasta County to Napa County,
                            23   then to Sonoma County, where they committed a wrongful search and seizure of Cedar. Plaintiffs
                            24   allege Cedar was then ultimately slaughtered without notice and opportunity to be heard in violation of
                            25   their rights to Due Process, among other things. Plaintiffs’ thereafter brought the instant action for
                            26   claims under § 1983 claims and state law.
                            27          4.     Attached hereto as Exhibit 1 is a true and correct copy of an email chain produced in
                            28   discovery by Defendant Melanie Silva (“Ms. Silva”) between her, Ms. Long, and Mike Francesconi at
                                                                            2
                                             DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 3 of 23



                            1    the California Department of Agriculture. The email indicates the following communications took

                            2    place:
                            3              a. The earliest email in the chain, beginning from the bottom of the email chain, is dated

                            4                 June 27, 2022 and was sent at 5:41 pm from my client Mrs. Long to Ms. Silva. The
                            5                 email discusses her daughter’s bond with her goat, Cedar, and offers to pay for any
                            6                 damages caused by Plaintiffs’ decision not to sell Cedar at the Shasta County Junior
                            7                 Livestock action on June 25, 2022, and their attendant removal of Cedar from the
                            8                 fairgrounds;
                            9              b. On June 28, 2022 at 1:31 pm, Ms. Silva rejected Mrs. Long’s previously-emailed offer
                            10                to pay damages, explaining, the “social media this has been a negative experience for the
                            11                fairgrounds[,]” and stating, “I have spoken with the California Department of Food and
ADVANCING LAW FOR ANIMALS




                            12                Agriculture and they have informed me that for the good of all we have to stick to the
                            13                State Rules. You will need to bring the goat back to the Shasta District Fair
                            14                immediately.”
                            15             c. On June 28, 2022 at 3:07 pm, Ms. Silva forwarded her email exchange with Mrs. Long
                            16                to Mr. Francesconi, stating, “Hi Mike, I have included the response I sent her. I have
                            17                also updated my Board Member[.]”
                            18             d. On June 28, 2022 at 3:08 pm, Mr. Francesoni responded to Ms. Silva, “Hello Melanie
                            19                Did BJ go out to pick up the goat? Thanks Mike[.]”
                            20             e. On June 28, 2022 at 3:40 pm, Ms. Silva responded to Mr. Francesoni, stating “Hi Mike,
                            21                She is not responding to either of us. Should we involve CHP next?”
                            22             f. On June 28, 2022 at 5:58pm, Mr. Francesconi responded to Ms. Silva, “I am checking
                            23                with Michael Flores on how he would like you to proceed. I will let you know when I
                            24                learn more. Thanks Mike[.]”
                            25             g. On June 29, 2022 at 9:06 am, Ms. Silva emailed Mr. Francesconi, “Hi Mike, Please call
                            26                my cell number [omitted] when you call back. We have the phones forwarded since they
                            27                posted our number to instagram.”
                            28
                                                                           3
                                            DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 4 of 23



                            1           5.      On June 29, 2022, Mrs. Long again emailed Ms. Silva a second letter, stating, among

                            2    other things, Cedar was Plaintiff E.L.’s personal property; SDF never owned Cedar; grand theft had no
                            3    basis; and the letter was “in anticipation of litigation” of their civil dispute (“Notice of Civil Claim and

                            4    Intention to Sue”). A true and correct copy of this letter, produced in discovery by Mrs. Silva, is attached
                            5    hereto as Exhibit 2. In discovery, Mr. Macfarlane produced a text between him and Ms. Silva dated June
                            6    29, 2022, that indicates Ms. Silva texts Mr. Macfarlane that “We are contacting the Sheriff for the goat
                            7    waiting for a call back[.]” A true and correct copy of this June 29, 2022 text, produced in discovery by Mr.
                            8    Macfarlane, is attached hereto as Exhibit 19.
                            9           6.      On August 21, 2023, I conducted the deposition of Lieutenant Jerry Fernandez (“Lieut.
                            10   Fernandez”). The period for making deposition corrections expired on November 13, 2023 and no
                            11   changes were made. A true and correct copy of excerpts from Lieut. Fernandez’s deposition is attached
ADVANCING LAW FOR ANIMALS




                            12   hereto as Exhibit 3.
                            13          7.      With respect to what prompted his investigation of Mrs. Long, as referenced in the
                            14   concurrently filed memorandum, Lieut. Fernandez testified:
                            15                          Q.      Okay. So when did you first learn of Jessica removing Cedar from the --
                                                                when I say "the fair," I mean the 2022 Shasta County District Fair.
                            16
                                                        A.      I first learned about it when -- I want to say it was either the very end of
                            17                                  June or beginning of July.

                            18                          Q.      And who told you?

                            19                          A.      I was -- the Sheriff, Michael Johnson, told me that I needed to reach out
                                                                to the fair or people from the fair in regards to a theft of a goat.
                            20
                                                        Q.      Okay. Michael Johnson. You said the Sheriff. So he's the elected Sheriff?
                            21                          A.      He is the elected Sheriff, yes.
                            22                          …
                            23                          Q.      So did he give you any -- what other details did Michael Johnson give
                                                                you? Sheriff Johnson. I'm not trying to be disrespectful. Whatever the
                            24                                  proper term is.
                            25                          …
                            26                          A.      Yes, Sheriff. Just that the goat was stolen and that because of my
                                                                collateral assignment as a livestock investigator, that I needed to reach
                            27                                  out to the people from the fair and basically conduct an investigation.
                            28
                                                                             4
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 5 of 23



                            1    Ex. 3 (Lieut. Fernandez Dep. 77:10-78:14).

                            2
                                                      Q.      All right. So Sheriff Johnson tells you to go investigate this. And you don't
                            3                                 know who told -- do you know when he learned of this?
                            4                         A.      It was the same time that I conducted the -- or began the investigation. So
                                                              that was the same time frame, end of June, beginning of July.
                            5
                                                      Q.      Okay. And what narrative or facts did he tell you?
                            6
                                                      A.      Just that the -- that the goat had been stolen and to reach out to whoever
                            7                                 I know at the fair to basically conduct -- start the investigation.
                            8    Ex. 3 (Lieut. Fernandez Dep. 83:5-14).

                            9           8.     With respect to the reaction of other fair boards to Cedar’s removal, as referenced in the
                            10   concurrently filed memorandum, Lieut. Fernandez testified:
                            11                        A       It was a big deal with a lot of the fair boards within Shasta County.
ADVANCING LAW FOR ANIMALS




                            12                        Q       Where else was it a big deal?
                            13                        A       I don't know the names of those fairs.

                            14                        Q       Do you know -- do you know -- oh, well you said "fair boards."
                                                      A       Yeah.
                            15
                                                      Q.      So what other fairs? Are there other fairs in Shasta County? I thought it
                            16                                was one per county.
                            17                        A.      No, the State of California.
                            18                        Q.      The State. Okay. What other fairs was it a big deal with, if you know?
                            19                        A.      I don't know those -- I don't know the particulars on that.

                            20                        Q.      Who did you hear it from?

                            21                        A.      The Sheriff.
                                                      Q.      The Sheriff. Okay.
                            22
                                                      A.      That people were pissed that Cedar was removed?
                            23
                                                      A.      Yeah, I think it was -- or from my recollection, it was reported to him that
                            24                                this is -- right, that this is not -- yes, it affects Shasta District Fair and we
                                                              have to investigate it, but there's other fair boards reaching out to our
                            25                                fair board about this is pretty serious stuff ….
                            26
                                 Ex. 3 (Lieut. Fernandez Dep. 277:13-279:03).
                            27
                            28
                                                                            5
                                             DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 6 of 23



                            1           9.      With respect to Lieut. Fernandez and Det. Duncan seizing Cedar on July 8, 2022, and, at

                            2    the direction of Mrs. Muse, turning him over to Mr. Macfarlane, Lieut. Fernandez testified:
                            3                          A.     And then due to the time of -- projected time of our arrival back into
                                                              Shasta County, Ms. Muse requested that we leave the goat in the care
                            4                                 and custody of Mcfarlane.
                            5                          Q.     Okay. So did you speak with Kathi Muse on the phone?
                            6                          A.     Yes.

                            7                          Q.     Okay. What did you -- what did she say on the phone?

                            8                          A.     Just -- I can't recall everything she said. I think she was excited that we
                                                              got the goat and that to -- based on the time of night, to just leave it with
                            9                                 her agent, which would have been Mcfarlane.

                            10   Ex. 3 (Lieut. Fernandez Dep. 269:16-270:10).
                            11          10.     On August 22, 2023, I conducted the deposition of Detective Jacob Duncan (“Det.
ADVANCING LAW FOR ANIMALS




                            12   Duncan”). The period for making deposition corrections expired on October 13, 2023 and no changes
                            13   were made. A true and correct copy of excerpts from Det. Detective’s deposition is attached as Exhibit
                            14   4.
                            15          11.     With respect to driving several hundred miles from Shasta County to Napa County to
                            16   locate Cedar, but not finding him at Bleating Hearts Sanctuary, as referenced in the concurrently filed
                            17   memorandums, Det. Duncan testified:.
                            18                         Q.     … And you didn't find -- well, okay. Didn't find Cedar at her -- at
                                                              Bleating Hearts, correct?
                            19
                                                       A      No.
                            20
                                                       …
                            21
                                                       Q.     Okay. All right. And -- okay. What did you do when you left their
                            22                                property?

                            23                         A.     Well, in my conversation with Kristin and review of her emails, I
                                                              discovered that Cedar was at Billy's Mini Goat Farm in Sonoma.
                            24
                                                       Q.     Okay. So you concluded that in your investigation. What did you -- so
                            25                                about what time -- about what time did you leave the Bleating Hearts?

                            26                         A.     I think we left directly following when that interview ended. We went
                                                              directly to Billy's Mini Goat Farm in Sonoma.
                            27
                                 Ex. 4 (Det. Duncan Dep. 144:25 – 147:17).
                            28
                                                                             6
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 7 of 23



                            1           12.     On November 13, 2023, I conducted the deposition of Defendant Kathie Muse (“Mrs.

                            2    Muse”). The period for making deposition corrections expired on January 1, 2024. A true and correct
                            3    copy of excerpts from Mrs. Muse’s deposition is attached as Exhibit 5.

                            4           13.     With respect to slaughtering Cedar, Mrs. Muse testified:
                            5                           Q.     Did the DA ever tell you, greenlight, you guys can go through with the
                            6                                  slaughter??
                                                        A.     They did not tell me that, no.
                            7
                                                        Q.     Did they tell B.J.?
                            8
                                                        A.     Yes
                            9
                                                        Q.     Okay. The DA did tell B.J.?
                            10
                                                        A.     I don't know if it was the DA.
                            11
ADVANCING LAW FOR ANIMALS




                            12                          Q.     Okay. But someone from law enforcement in your mind did. So either the
                                                               sheriff's, the DA; is that what you're telling me?
                            13
                                                        A.     Correct.
                            14
                                 Ex. 5 (Muse Dep. 199:5-15).
                            15
                                        14.     Regarding the Sheriff’s Department and DA’s instructions to retain Cedar’s ear tags,
                            16
                                 Mrs. Muse testified:
                            17
                                                        Q.     Okay. Then please "don't forget to save the ear tags." Did you -- did you
                            18                                 ever receive Cedar's ear tags?
                                                        A.     No.
                            19
                                                        Q.     Who has them?
                            20
                                                        A.     My understanding is B.J. has 'em.
                            21                          Q.     Okay. Why would -- why would you want them saved?
                            22                          A.     Because we were told to make sure we saved the ear tags.

                            23                          Q.     Who told you that?
                                                        A      I -- I was not told that. I was told from B.J. that the DAs and the sheriffs
                            24                                 office, I don't know which department, had told him to make sure that we
                            25                                 save the ear tags.
                                                        …
                            26
                                                        Q.     B.J. told you. Do you know when he told you?
                            27
                                                        A.     No.
                            28
                                                                             7
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 8 of 23


                                                         Q.     Okay. Was it -- it must have been in person or over the phone, though,
                            1                                   because it's not on this text chain.
                            2                            A.     Yes.
                            3    Ex. 5 (Muse Dep. 201:19-202:08).
                            4           15.        With respect to Mrs. Muse’s testimony contending the SDF provided replacement goat
                            5    meat for the July 9 Government Barbeque, as referenced in the concurrently filed memorandum, Mrs.
                            6    Muse testified:
                            7
                                                         Q.      Okay. So Cedar was alive till the 28th. Okay. And what -- what had hap -
                            8                                   - what happened to him afterwards after he was killed?
                            9                            A.     He was given back to the Shasta Live- --Junior Livestock Auction board.
                                                                He was given back to the Junior Livestock Auction.
                            10                                  …
                            11                                  They replaced it to me for the barbecue. The fair board or the Junior
ADVANCING LAW FOR ANIMALS




                                                                Livestock Auction replaced that fair to us -- or replaced Cedar so
                            12                                  that we had a goat at the auction.
                                                                …
                            13
                                                         Q.     So did he even go to any of -- anyone's plate, or is he -- was he just killed
                            14                                  to go back to Shasta -- to the fair as reimbursement?
                            15                           A.     I don't know what happened. My understanding, what I was told was he
                                                                went back to somebody that had a problem with another goat that had
                            16                                  been butchered. So we, in turn, replaced Cedar with that goat.
                            17   Ex. 5 (Muse Dep. 204:13-205:20).
                            18          16.        With respect to who knows where Cedar’s meat went following his slaughter, as
                            19   referenced in the concurrently filed memorandum, Mrs. Muse testified:
                            20                           Q.      …So he just went to an individual -- to a private -- a private party then
                                                                 is your understanding?
                            21
                                                         A.      My understanding, yes.
                            22
                                                         Q.      Okay. Do you know who that private party was?
                            23                           A.     No.
                            24                           Q.     Okay. Do you know who would know?

                            25                           A.     Probably the Shasta District Fair.
                                                                ….
                            26
                                                         A.     Probably Melanie.
                            27   Ex. 5 (Muse Dep. 235:19-236:10).
                            28
                                                                             8
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 9 of 23



                            1           17.     On November 14, 2023, I conducted the deposition of Defendant Melanie Silva (“Ms.

                            2    Silva”). The period for making deposition corrections expired on January 1, 2024. A true and correct
                            3    copy of excerpts from Mrs. Muse’s deposition is attached as Exhibit 6.

                            4           18.     Ms. Silva’s testified that, on June 29 at 12:27 pm, she emailed several documents to
                            5    Lieut. Fernandez, which were marked as Exhibit K at the Deposition, which included Mrs. Long’s
                            6    Notice of Civil Claim and Intention to Sue. See Ex. 6, Silva Dep. Vol. 1 288:03-23, Exhibit K to the
                            7    deposition is included with deposition excepts attached to this Declaration as Exhibit 6.
                            8           19.     With respect to what Mrs. Silva knew about Cedar’s slaughter, and the DA’s
                            9    involvement, she testified:
                            10                        Q.        July, August. Okay. Where is Cedar right now then?
                                                      A        I don't know.
                            11
ADVANCING LAW FOR ANIMALS




                                                      Q        You don't know where he is. Okay. Okay. Well, you know he was
                            12                                 slaughtered, yes?
                            13                        A        I heard that he was slaughtered.

                            14                        Q        When did you hear that?
                                                      A        I don't know -- people just talk. I don't know. I'm not trying to be difficult.
                            15                                 I don't know.
                            16                        Q        When did you first hear he was slaughtered?
                            17                        A        This is hearsay. Do I say it as fact when I don't know for sure?
                                                      Q        It's not being introduced as evidence. Yes, you need to tell me what --
                            18                                 what you heard.
                            19                        A        I just -- I don't know when I heard it. I just heard that he was back and
                                                               that the permission was given to go ahead and move forward with the
                            20                                 slaughter.
                            21                        Q        Permission from who?
                            22                        A        Somebody told me DA. But do I know if that's fact? I don't know if that's
                                                               fact.
                            23
                                                      …
                            24                        A        I just heard that they had Cedar and I heard that they were waiting for
                                                               permission. I don't know...
                            25
                                                      Q        From who, though?
                            26
                                                      A        No.
                            27                        Q        You said the DA before that.
                            28                        A        I assumed it was the DA.
                                                                             9
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 10 of 23


                                                     Q         Why did you assume it was the DA?
                            1
                                                     A         Because the DA's official.
                            2
                                                     Q         Any other reason?
                            3                        A         No.
                            4                        …

                            5                        Q.        Okay. Did you ask them if it was the DA?
                                                     A         No.
                            6
                                                     Q         No? Why not?
                            7
                                                     A         Again, I didn't have a say in the – what happens to it.
                            8                        Q         But it's your livestock manager and fair, why did -- you must have some
                                                               say?
                            9
                                                      MR. BRIDGES: Well, I think that still misstates testimony that she knows who told
                            10                               her that.
                            11                       THE WITNESS: I don't.
ADVANCING LAW FOR ANIMALS




                                                     ….
                            12
                                                     Q         okay. Who told you that they were waiting?
                            13
                                                     A         I don't remember.
                            14                       Q         You don't remember at all, but you heard from someone?
                            15                       A         Yes.
                            16   Ex. 6 (Silva Dep. Vol. 1, 66:04-10; 66:25-67:24; 68:17-22).
                            17          20.     With respect to the DA’s involvement, Ms. Silva further testified.
                            18                       Q         Okay. Did you talk to the DA –
                            19                       A         No –
                                                     Q         -- at all?
                            20
                                                     A         -- it was not. It was the community barbecue's goat.
                            21
                                                     Q         Okay. But did you talk to the DA at all?
                            22                       A         I did not.
                            23                       Q         You did not. So you're relying on B.J. to talk to the DA?
                            24                       A         No.
                                                     Q         Okay. Then -- okay.
                            25
                                                     A         It was -- it was the community barbecue's goat. And they are the ones
                            26                                 that pursued it with the DA.
                            27   Ex. 6 (Silva Dep. Vol. 1, 329:05-18).
                            28
                                                                             10
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 11 of 23



                            1           21.     With respect to her own involvement, Mrs. Silva testified she had no contact with BJ:

                            2                            Q       Did you know that B.J. had custody of him?
                                                         A       I just knew it was back. I didn't know exactly it went when it came back.
                            3
                                                         Q       Did you -- did you ask B.J.?
                            4
                                                         A       No.
                            5                            Q       Is there any reason you didn't ask B.J.?
                            6                            A       We were not in contact.
                            7    Ex. 6 (Silva Dep. Vol. 1, 62:22 -63:03);
                            8           22.     With respect to where Cedar was held after he was returned by the Sheriff’s officers,
                            9    Mrs. Silva testified:
                            10                  MR. BRIDGES:            I'm confused. I thought you said you didn't know that B.J. had
                                                                        custody.
                            11
ADVANCING LAW FOR ANIMALS




                                                THE WITNESS:            I don't know that he had --he had custody.
                            12
                                                MR. GORDON:             No, she said she didn't know where he had custody. She knew –
                            13                  THE WITNESS:            I didn't know he had it. I don't -- I know it came back. I don't know
                                                                        where it went after that.
                            14
                            15   Ex. 6 (Silva Dep. Vol. 1, 64:13-15);

                            16                           Q       But you understood that B.J. and Ms. Muse had custody, correct?
                                                         A       I heard that the sheriff brought the goat back.
                            17
                                                         Q       To B.J.
                            18
                                                         A       I don't know exactly. I'm assuming that it was B.J., but I don't know who.
                            19
                                 Ex. 6 (Silva Dep. Vol. 1, 69:18-24);
                            20
                                        23.     With respect to her responsibility and role in Cedar’s fate, Mrs. Silva testified:
                            21
                                                         Q.      Okay. Did you ask them if it was the DA?
                            22                           A       No.
                            23                           Q       No? Why not?
                            24                           A       Again, I didn't have a say in the – what happens to it.
                                                         Q       But it's your livestock manager and fair, why did -- you must have some
                            25                                   say?
                            26                           MR. BRIDGES: Well, I think that still misstates testimony that she knows who told
                                                                her that.
                            27
                                                         THE WITNESS: I don't.
                            28
                                                                             11
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 12 of 23



                            1    Ex. 6 (Silva Dep. Vol. 1, 68:06-07);

                            2                        Q         You didn't know Cedar was killed on July --25 on July 28th?
                                                     A         No.
                            3
                                                     Q         When did you find out he was killed on July 28th?
                            4
                                                     A         I never knew. Right now.
                            5                        Q         To this day you still don't know?
                            6                        A         I did not know it was July 28th, no.
                            7                        Q         Oh, okay. So until I represented to you today, you never heard July 28th
                                                               is the date?
                            8
                                                     A Correct.
                            9
                                 Ex. 6 (Silva Dep. Vol. 1, 77:24-78:09);
                            10
                                                     Q         …you mentioned having a conversation with Kathie Muse….
                            11                       …
ADVANCING LAW FOR ANIMALS




                            12                       Q         …And in this conversation you discussed media and nothing else to your
                                                               recollection; is that accurate?
                            13
                                                     A         I don't remember what else we discussed. I would know -- I do know that
                            14                                 it was part of the attacks in the media.

                            15                       Q         Okay. But -- but Cedar himself, his whereabouts at that moment, you --
                                                               you did not --you don't recall discussing?
                            16                       A         I don't recall discussing that, no.
                            17                       …
                            18                       Q         So you might have discussed it?
                                                     A         I -- I doubt it. I just wasn't curious about it.
                            19
                                                     Q         You were incurious about it. Okay. So you don't though think you would
                            20                                 have thought to ask her at the time?
                            21                       A         Correct.
                                 Ex. 6 (Silva Dep. Vol. 1, 123:02-124:03); and
                            22
                                                     Q         When he was retrieved, Cedar was -- so when Cedar was retrieved, you
                            23                                 knew -- you thought he was retrieved and then slaughtered right away
                                                               and handled -- what do you mean by "handled"?
                            24
                                                     A         I didn't give it as much thought as you're saying.
                            25
                                                     Q         Okay. So –
                            26                       A         Cedar was retrieved. They handled the situation. I –
                            27                       Q         Okay. But it's -- it was your responsibility to see that the animals sold to
                                                               the auction were, in fact, sent to the slaughter. You didn't think it was
                            28                                 appropriate to follow up with B.J. what the status was with Cedar?
                                                                            12
                                             DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 13 of 23


                                                         A    No.
                            1

                            2    Ex. 6 (Silva Dep. Vol. 1, 183:01-15).

                            3           24.     On November 15, 2023, I conducted the deposition of Defendant B.J. Macfarlane (“Mr.

                            4    Macfarlane”). The period for making deposition corrections expired on January 1, 2024. A true and

                            5    correct copy of excerpts from Mr. Macfarlane’s deposition is attached as Exhibit 7.

                            6           25.     With respect to Mr. Macfarlane’s representations to Mrs. Long that she committed a

                            7    felony by removing Cedar, among other things, he testified:
                                                     Q.       …So you remember speaking with her on the phone around 9:00-ish at
                            8
                                                              the fairgrounds. And do you remember what you discussed with her?
                            9                        A.       Yes. I asked her that we need to get the goat back. And she said, "There's
                                                              got to be some other way." And I said, "No, there's no other way that you
                            10
                                                              don't own the goat at this time. It's my opinion you're stealing something
                            11                                over $400 of agricultural commodities. It's considered a felony," which I
ADVANCING LAW FOR ANIMALS




                                                              had to look it up.
                            12
                                                     ….
                            13                       Q        ….So you had this conversation with [Mrs. Long] on the phone. You tell
                                                              her she committed a felony in your opinion or potentially committed a
                            14                                felony, you know –
                            15                       A.       Yeah.
                            16   Ex. 7 (Macfarlane Dep. Vol. 1, 161:17-167:3).
                            17          26.     With respect to whether Mr. Macfarlane or Ms. Silva called Shasta County Sheriff
                            18   Michael Johnson to accuse Mrs. Long of a crime after she removed Cedar from the fairgrounds, Mr.
                            19   Macfarlane testified:
                            20                       Q.       ….All right. Okay. So do you know who – so this -- this text chain begins
                                                              on June 28th with the Instagram post. Do you know if the sheriffs were
                            21
                                                              involved at that point in time?
                            22                       A.       I do not recall.
                            23                       Q.       I believe it's Tuesday, the 28th. Isn't it? Because 25th is Saturday, 26th,
                                                              27th, yeah, Tuesday, right?
                            24
                                                     A.       I don't recall when the sheriffs were -- I believe I called Sheriff Johnson
                            25                                at some point this week and I don't remember when.
                                                     Q.       Oh, you -- so you called –
                            26
                                                     A.       I -- not me, yeah, somebody did.
                            27
                                                     Q.       Somebody did. But you called Sheriff Johnson at some point?
                            28                       A        And I think it was me. Again...
                                                                             13
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 14 of 23


                                                      Q        Do you remember what date that was about?
                            1
                                                      A        No clue. Some -- I'm guessing sometime this week, maybe Tuesday,
                            2                                  maybe Wednesday. I...
                            3    Ex. 7 (Macfarlane Dep. Vol. 1, 191:23-191:11; 193:04-21).
                            4            27.     With respect to the CDFA’s involvement in deciding Cedar’s fate, Mr. Macfarlane
                            5    testified:
                            6                         A        …I was to hold on to the goat.
                            7                         Q        Okay. Hold on to the goat for -- until when?

                            8                         A        Until the state said what was going to happen.
                                                      Q        Till the state -- what do you mean "the state"?
                            9
                                                      A        Mike Francesconi or the lawyer. I don't know. That's -- that's above my
                            10                                 pay grade. I was just –
                            11                        Q        I understand.
ADVANCING LAW FOR ANIMALS




                                                      A        -- housing the goat.
                            12
                                                      Q        Okay. Do you know which lawyer?
                            13
                                                      A        No.
                            14                        Q        Was this the CDFA's lawyer?
                            15                        A        Yes.

                            16                        Q        Okay.
                                                      A        Yes, it was the CDFA's lawyer.
                            17
                                 Ex. 7 (Macfarlane Dep. Vol. 1, 202:11-203:23).
                            18
                                         28.     With respect to holding Cedar from July 8, 2022, until when Cedar’s was killed on July
                            19
                                 28, 2022, his conversations with Ms. Silva, and that they were also waiting on the Sheriff and the DA,
                            20
                                 Mr. Macfarlane testified:
                            21
                                                      Q        About how many times would you say you talked to Melanie through this?
                            22
                                                      A         I–
                            23                        Q        Multiple times?
                            24                        A        Yeah, multiple times.

                            25                        …
                                                      Q.       …when you got Cedar on July 8 through, let's say, the 28th is when it
                            26                                 appears that he's killed or goes to slaughter, you talked to Melanie
                            27                                 multiple times, correct?
                                                       A       Yes.
                            28
                                                                              14
                                               DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 15 of 23


                                                     …
                            1
                                                     Q         did you tell Melanie that we're waiting to hear from the sheriff and the
                            2                                  DA?
                            3                        A         And I'm -- yeah, and I don't remember if she was the one talking to the
                                                               sheriff. I think -- I know I did a couple times, but I want to think that -- I
                            4                                  thought she was the one that was gearing it, so what -- with the state and
                                                               the sheriff, so...
                            5
                                 Ex. 7 (Macfarlane Dep. Vol. 1, 208:25-209:17).
                            6
                                        29.     With respect to his perspective that he was operating under the direction of Ms. Silva,
                            7
                                 the Sheriff, the CDFA, and the District Attorney, Mr. Macfarlane testified:
                            8
                                                     Q.        …but what was your understanding of what they were waiting to
                            9                                  determine?
                            10                       A         I don't -- I think it was over if the DA was going to prosecute.
                                                     …
                            11
ADVANCING LAW FOR ANIMALS




                                                     Q.        …Okay. So -- okay. So you -- you felt like you were -- just to clarify in
                            12                                 your -- from your perspective, you felt like you were operating under the
                                                               direction of Melanie and the sheriff –
                            13
                                                     A         Yes.
                            14
                                                     Q         -- office? Okay. And potentially the CDFA, I guess, also?
                            15                       A         Yes. The CDFA.
                            16                       Q         And the District Attorney? Okay. All right.
                            17   Ex. 7 (Macfarlane Dep. Vol. 1, 209:22-211:10).
                            18          30.     With respect to a text exchange on July 11, 2022, between Mr. Macfarlane and Mrs.
                            19   Muse, Macfarlane testifies
                            20                       Q.        …your follow-up text to -- to Kathie is: "Good morning. I'm gone till
                                                               tomorrow afternoon, talked to sheriff and he said to wait until he talks to
                            21                                 DA before we kill goat." It's per- --
                            22                       A         Yeah.
                            23                       …
                                                     Q         …when you say the sheriff here, do you know -- "talked to sheriff." Do
                            24
                                                               you know who you –
                            25                       A         Johnson.
                            26                       Q         Johnson. Okay. And the -- and as far as the DA here, do you know which
                                                               DA you're talking about?
                            27
                                                     A         It's a woman. I do not know her name.
                            28
                                                                             15
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 16 of 23


                                                      Q        Is it -- so if you go to the last page of that, is it Stephanie Bridgett, by
                            1                                  chance? The very last page. This is –
                            2                         A        Yeah. That would be the district attorney, yeah. I don't know her and --
                            3    Ex. 7 (Macfarlane Dep. Vol. 1, 204:01-205:08).
                            4           31.     With respect to speaking with Sheriff Johnson while he was holding Cedar, Mr.
                            5    Macfarlane testified:
                            6                         Q.       Okay. And what did -- do you know how many times between that period
                                                               you talked with Sheriff Johnson and the DA between the 11th and the
                            7
                                                               25th of July?
                            8                         A        A couple times maybe. And this was – I never talked to the DA.
                            9                         Q        Oh, how did you know the DA -- did the sheriffs say that he was waiting
                                                               on the DA?
                            10
                                                      A        Yes.
                            11
ADVANCING LAW FOR ANIMALS




                                 Ex. 7 (Macfarlane Dep. Vol. 1, 207:10-22).
                            12
                                        32.     With respect Cedar’s ear tags, contrary to Mrs. Muse’s testimony, Mr. Macfarlane
                            13
                                 testified she instructed him to hold them:
                            14
                                                      Q        Okay. And why were you supposed to save his ear tags?
                            15                        A        I -- because Kathie told me to save ear tags, so I saved ear tags.
                            16                        Q        Why would Kathie -- what's the purpose in saving ear tags?
                            17                        A        I have no idea. She wanted ear tags

                            18   Ex. 7 (Macfarlane Dep. Vol. 1, 212:13-213:04).
                            19          33.     On February 9, 2024, I conducted Volume II of the continued deposition of Ms. Silva.
                            20   The period for making deposition corrections expires on March 29, 2024. A true and correct copy of
                            21   excerpts from Mrs. Muse’s deposition is attached hereto as Exhibit 8.
                            22          34.     With respect to discussions with nonparty Mike Francesconi of the California
                            23   Department of Agriculture, Ms. Silva testified:
                            24                        Q.        Okay. And "Mike Francesconi" again. It looks like you have beneath that
                                                               "6-28, 9:10 a.m." Is this another call at that time with Mike Francesconi?
                            25
                                                      A.       Yes.
                            26                        Q.       Okay. All right. Regarding Cedar again?
                            27                        A.       Yes.
                            28   Ex. 8 (Silva Dep. Vol. 2, 412:12-17); and
                                                                             16
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 17 of 23


                                                        Q.       Okay. All right. So "pickup goat. Don't pursue charges. If large" -- what
                            1                                    were you -- what is the direction -- there's not commas so I don't want to
                            2                                    read it and you can tell me what you were trying to say here.
                                                        A.       "Pick up goats. Don't pursue charges. If large group, back off. Don't
                            3                                    comment."
                            4                           Q.       Okay. All right. So this is around June 28th, correct?
                            5                           A.       Yes.
                                                        …
                            6
                                                        Q.       Okay. Did Mike Francesconi tell you not to pursue charges at that time?
                            7
                                                        A.       I don't know that it came up at that time.
                            8    Ex. 8 (Silva Dep. Vol. 2, 412:18-413:17).
                            9
                                         35.       With respect to whether the Dahle’s or Ms. Muse’s payment of Cedar, Ms. Silva
                            10
                                 testified:
                            11
ADVANCING LAW FOR ANIMALS




                                                        Q.       Okay. Okay. And then documents reflecting final payment of Cedar by the
                            12                                   Dahles. Did you ever get the Dahles' payment documents for Cedar?
                                                        A.       I don't believe they paid.
                            13
                                                        Q.       You don't believe they paid?
                            14
                                                        A.       No.
                            15                          Q.       Okay. Did Ms. Muse pay on their behalf?
                            16                          A.       No.

                            17   Ex. 8 (Silva Dep. Vol. 2, 431:14-20).
                            18   During discovery Ms. Silva also produced an email between her and Muse, dated July 11, 2022,
                            19   wherein she attaches the bills for Cedar and states “Hi Kathie, I have attached their bills. I appreciate
                            20   the update!” A true and correct copy of that email is attached hereto as Exhibit 20.
                            21           36.       Attached hereto as Exhibit 9 is a true and correct copy of a July 18, 2022 text thread
                            22   Defendant Mr. Macfarlane produced in discovery between him and Defendant Ms. Silva. This text
                            23   thread indicates that, on July 18, sometime after 10:29 am, Ms. Silva texted Mr. Macfarlane, “The word
                            24   goat makes my eye twitch now                             [,]” to which Mr. Macfarlane texted Ms. Silva, “It
                            25   should. Lol[.]”
                            26           37.       Attached hereto as Exhibit 10 is a true and correct copy of a July 22, 2022 text thread
                            27   Defendant Mr. Macfarlane produced in discovery between him and Defendant Ms. Silva. This text
                            28   thread indicates that, on July 22, 2022, Ms. Silva and Mr. Macfarlane texted about their cover story as
                                                                              17
                                               DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 18 of 23



                            1    to Cedar’s ultimate disposition wherein Mr. Macfarlane writes “What’s the gals name at bowman?

                            2    Kathy [sic] said ok but no one needs to know about this. U me and Kathy [sic] are only ones. It got
                            3    killed and donated to non profit if anyone asks,” and Ms. Silva provides the name of the relevant

                            4    employee at the company who ultimately butchers Cedar and writes “We are a non profit
                            5    [.]”
                            6           38.      Attached hereto as Exhibit 11 is a true and correct copy of a July 28, 2022 text thread
                            7    Defendant Mr. Macfarlane produced in discovery between him and Defendant Ms. Silva, which
                            8    indicates that on July 28, 2022, Mr. Macfarlane texted Ms. Silva, “Goat is getting butchered within the
                            9    half hour. Finally.”
                            10          39.      On or about January 20, 2024, I subpoenaed Mr. Macfarlane’s phone records, which
                            11   were produced by AT&T on or about February 7, 2024. Redacted copies of the relevant pages of the
ADVANCING LAW FOR ANIMALS




                            12   records are attached hereto as Exhibit 12. Please note AT&T produced records in Coordinated
                            13   Universal Time, or UTC. For ease of review, in the records listed below, Plaintiffs’ counsel adjusted
                            14   the time to Pacific Daylight Time, or PDT, by subtracting 7 hours from UTC. The records indicate that:
                            15                a. On July 22, 2022, at 11:17 am (18:17 UTC), Ms. Silva (XXX XXX 6789) called Mr.
                            16                   Macfarlane and the two spoke for 4 minutes;
                            17                b. On July 22, 2022, at 11:22 am (18:22 UTC), Mr. Macfarlane called Mrs. Muse (XXX
                            18                   XXX 9107), and the two spoke for over 4 minutes;
                            19                c. On July 22, 2022, at 11:29 am (18:29 UTC), Mr. Macfarlane called Bowman Meat
                            20                   Company (XXX XXX 4463), and arranged for Cedar’s slaughter;
                            21                d. On July 25, 2022 at 3:15 pm (22:15 UTC), Ms. Silva (XXX XXX 6789) called Mr.
                            22                   Macfarlane and the two had a short conversation; and
                            23                e. On July 25, 2022 at 3:31 pm (22:31 UTC), Mr. Macfarlane called Ms. Silva (XXX XXX
                            24                   6789) and the two spoke for over 5 minutes.
                            25          40.      On February 9, 2024, I conducted Volume II of the continued deposition of Mr.
                            26   Macfarlane. The period for making deposition corrections expires on March 29, 2024. A true and
                            27   correct copy of excerpts from Mr. Macfarlane’s deposition is attached hereto as Exhibit 13.
                            28
                                                                              18
                                               DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 19 of 23



                            1           41.      With respect to Ms. Silva and Mrs. Muse’s contact with law enforcement and the

                            2    District Attorney over the decision to kill Cedar, Mr. Macfarlane testified:
                            3                          Q.       Okay. So who gave you the -- you said you were waiting on permission to
                                                                -- for direction to have Cedar slaughtered, correct?
                            4
                                                       A.       Yes.
                            5                          Q.       When it was at your house? Who ultimately gave you the direction to?
                            6                          A.        I believe it was either Melanie or Kathie.

                            7                          Q.       Melanie or Kathie. Did -- why do you believe that?
                                                       A.       Because that's who -- I don't know. That's who the -- my boss -- it wasn't
                            8                                   even my boss. The CEO of the fair and the owner of the goat.
                            9                          Q.       Okay. And your understanding was that they were in communication with
                                                                law enforcement?
                            10
                                                       A.       Yes.
                            11
ADVANCING LAW FOR ANIMALS




                                                       Q.       And by "law enforcement," I mean the sheriff's office, and you said maybe
                            12                                  the sheriff, but it maybe it was the lieutenants as well?
                                                       MR. NORTHCUTT: Objection. Misstates testimony. He never said it was the
                            13                               sheriff. He, in fact, testified he said it wasn't the sheriff. It was the
                            14                               sheriff's department.
                                                       MR. GORDON: Q. He said -- I thought you said I believe -- you don't believe so,
                            15                               so I'm assuming you mean maybe you don't know who it was? You said
                            16                               they were in communication with –
                                                       A.       The sheriff's department.
                            17
                                                       Q.       The sheriff's department, okay. And the DA as well? Was your
                            18                                  understanding?

                            19                         A.       Yeah.
                                 Ex. 13 (Macfarlane Dep. Vol. 2, 250:08-251:08).
                            20
                            21          42.      With respect to Mr. Macfarlane’s testimony about Sheriff Michael Johnson’s

                            22   involvement, contrary his testimony in his first section, he testified:
                                                       Q.       Okay. And it's your testimony that you've never spoken with Michael
                            23
                                                                Johnson, Sheriff Michael Johnson, regarding Cedar the goat; correct or
                            24                                  incorrect?
                                                       A.       Correct.
                            25
                            26   Ex. 13 (Macfarlane Dep. Vol. 2, 269:20-23).

                            27                a. With respect to Mr. Macfarlane’s testimony about the recipient of the cuts of Cedar’s

                            28                   meat, he testified:
                                                                              19
                                               DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 20 of 23


                                                      Q.       Didn't you testify earlier that you didn't know who got Cedar, though?
                            1
                                                      A.       I did testify earlier that I did not know who got Cedar, but I read it in the
                            2                                  email or text messages here and that is –
                            3                         Q.       So that's Melanie telling you Vista Real Estate –
                                                      A.       Yes.
                            4
                                                      Q.       -- is getting Cedar? Okay. All right.
                            5
                                                      A.       I did testify that I did not know. And I did not know until I read that.
                            6
                                 Ex. 13 (Macfarlane Dep. Vol. 2, 349:24-350:09).
                            7
                                        43.     Between July 15, 2022 and July 27, 2022, on behalf of Mrs. Long, I contacted both the
                            8
                                 Sheriff’s and Shasta County Counsel’s Office multiple times demanding to know what happened to
                            9
                                 Cedar and that he be kept alive. I spoke with Lieutenant Fernandez and Detective Duncan on the phone.
                            10
                                 Detective Duncan claimed to have no information and directed me to Lieutenant Fernandez. Lieutenant
                            11
ADVANCING LAW FOR ANIMALS




                                 Fernandez would not disclose any information about Cedar other than saying “we turned him over to
                            12
                                 who we deemed was the rightful owner.” I also had communications with attorney Adam Pressman of
                            13
                                 the Shasta County Counsel’s office and he too would not provide information on Cedar’s whereabouts.
                            14
                                        44.     On or about January 19, 2024, I spoke to a Verizon representative, who stated that any
                            15
                                 subpoenas for cellular records needed to be faxed to (888) 667-0028.
                            16
                                        45.     On or about January 20, 2024, on behalf of Plaintiffs, I served Verizon with a subpoena
                            17
                                 for Ms. Silva’s work cell phone records (XXX XXX 4949), seeking records for “Any records
                            18
                                 concerning incoming or outgoing calls or texts … from June 25, 2022, through September 1, 2022,
                            19
                                 including call logs, call detail records, and text logs.” Ms. Silva confirmed this is her work number in
                            20
                                 deposition. See Ex. 6, Silva Dep. 149:11-15. Verizon responded in writing on January 24, 2024 that it
                            21
                                 could not produce any records absent a court order. A true and correct copy of the subpoena, and
                            22
                                 Verizon’s written response, is attached hereto as Exhibit 14.
                            23
                                        46.     On about January 25, 2024, I spoke with representatives of Verizon in their subpoena
                            24
                                 compliance department who informed me that Verizon’s written response for Ms. Silva’s work cell was
                            25
                                 standard, as they do not release records of California customers absent a court order or consent.
                            26
                                        47.     On January 30, 2024, Ms. Silva’s counsel sent me an email objecting to the subpoena. A
                            27
                                 true and correct copy of his objection email is attached hereto as Exhibit 15.
                            28
                                                                             20
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 21 of 23



                            1           48.     On February 20, 2024, on behalf of Plaintiffs, I served Verizon with a subpoena for Mrs.

                            2    Muse’s personal cell (XXX XXX 9107), seeking “Any records concerning incoming or outgoing calls
                            3    or texts … from June 25, 2022, through September 1, 2022, including call logs, call detail records, and

                            4    text logs.” Mrs. Muse confirmed this is her cell number in deposition. See Ex. 5, Muse Dep. 147:4-08.
                            5    Verizon did not respond to that subpoena. On March 4, 2022, I called Verizon’s subpoena compliance
                            6    department and an agent identified as “Richard” informed me that the subpoena had been mislabeled.
                            7    He did not know if/when a response would be issued. A true and correct copy of the subpoena for Mrs.
                            8    Muse’s cell records is attached hereto as Exhibit 16. Additionally, Mrs. Muse’s counsel did not object
                            9    to, move to quash, or otherwise respond to Plaintiffs’ counsel regarding the subpoena at issue.
                            10          49.     On or about February 26, 2024, on behalf of Plaintiffs, I served Verizon with a subpoena
                            11   for what I intended to be Ms. Silva’s personal cell phone records (XXX XXX 0058), seeking records
ADVANCING LAW FOR ANIMALS




                            12   for “Any records concerning incoming or outgoing calls or texts … from June 25, 2022, through
                            13   September 1, 2022, including call logs, call detail records, and text logs.” Ms. Silva confirmed this is
                            14   her work number in deposition. See Ex. 6, Silva Dep. 149:22-150:01. However, the initial subpoena
                            15   contained an incorrect number. I corrected it on March 5, 2024 and then Verizon responded in writing
                            16   on March 6, 2024, 2024 that it could not produce any records absent a court order for Ms. Silva’s
                            17   personal cell phone records (XXX XXX 0058). A true and correct copy of the subpoena, and Verizon’s
                            18   written response, is attached hereto as Exhibit 17.
                            19          50.     On March 4, 2024, both me and my co-counsel Vanessa Shakib met and conferred with
                            20   Attorney John Bridges, counsel for Ms. Silva. Mr. Bridges requested a protective order concerning the
                            21   personal cell number. Plaintiffs do not oppose Ms. Silva’s request and are currently awaiting a draft
                            22   protective order from Ms. Silva’s counsel to review.
                            23          51.     The subpoena to nonparty Vista Real Estate requests, “All records related to any goat
                            24   meat you acquired from, or that related to, the Shasta District Fair & Event Center between June 25,
                            25   2022, and September 1, 2022. This includes records of any goat meat you acquired from the 2022
                            26   Junior Livestock Auction at the Shasta District Fair, or documents from 3rd parties such as butchers.”
                            27   Service was attempted on February 23, 2022. But, per the process service, Chad Phillips, the putative
                            28   principal of Vista Real Estate, initially responded, but then became nonresponsive and evaded service
                                                                             21
                                              DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 22 of 23



                            1    over the following days. He was ultimately served on February 29, 2022, with both subpoena and the

                            2    notice of motion. He has not responded to date. A true and correct copy of the subpoena and process

                            3    server’s proof of service is attached hereto as Exhibit 18.

                            4

                            5           I declare under the penalty of perjury under the laws of the United States of America that the

                            6    foregoing is true and correct. Executed on March 6, 2024.

                            7
                                                                               By:_____/s/Ryan Gordon____________________
                            8                                                            Ryan Gordon
                            9

                            10

                            11
ADVANCING LAW FOR ANIMALS




                            12

                            13

                            14

                            15

                            16

                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28
                                                                            22
                                             DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
                                  Case 2:22-cv-01527-DAD-AC Document 61-1 Filed 03/06/24 Page 23 of 23


                                                                      PROOF OF SERVICE
                            1
                                 I, Ryan Gordon, declare:
                            2
                                       I am employed in the County of Los Angeles, State of California. I am over the age of 18
                            3    and not a party to the within action. My business address is 407 N. Pacific Coast Hwy. #267,
                                 Redondo Beach, CA 90277.
                            4
                                         On March 6, 2024, I served on the interested parties in this action the following document(s)
                            5    described as DECLARATION OF RYAN R. GORDON IN SUPPORT OF PLAINTIFF’S
                            6    MOTIONS TO COMPEL (ECF Nos. 52, 54, 55, and 56)

                            7    ý By placing ý a true copy thereof enclosed in a sealed envelope addressed as follows:

                            8    CHRISTOPHER M. PISANO,                         JOHN C. BRIDGES
                                 christopher.pisano@bbklaw.com                  CALIFORNIA DEPARTMENT OF JUSTICE
                            9    DAMIAN A. NORTHCUTT,                           Tort and Condemnation Section
                                 Damian.Northcutt@bbklaw.com                    1300 I Street, Suite 1210
                            10
                                 JULIA HERNANDEZ                                Sacramento, CA, 95814
                            11   Julia.Hernandez@bbklaw.co                      John.Bridges@doj.ca.gov
ADVANCING LAW FOR ANIMALS




                                 BEST BEST & KRIEGER LLP 300
                            12   South Grand Avenue 25th Floor                  Kelly J. Snowden, Esq.
                                 Los Angeles, California 90071                  Kelly.snowden@rswslaw.com
                            13                                                  Tonya.hamilton@rswslaw.com
                            14   VERIZON
                                 C/O Verizon Security Subpoena Compliance
                            15   180 Washington Valley Road
                                 Bedminster NJ 07921
                            16   Fax: 1.888.667.0028.
                            17   ý BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s)
                                   set forth for Verizon at its request.
                            18   ¨ OVERNIGHT DELIVERY: I deposited such envelope in a facility regularly maintained
                            19     by ý FEDERAL EXPRESS with delivery fees fully provided for or delivered the envelope
                                   to a courier or driver of ¨ FEDERAL EXPRESS authorized to receive documents at 407 N.
                            20     Pacific Coast Hwy, #267, Redondo Beach, CA 90277 with delivery fees fully provided for.
                                 ý BY E-MAIL OR ELECTRONIC TRANSMISSION: The document(s) was sent from e-
                            21     mail address rgordon@advancinglawforanimals.org to the persons at the e-mail addresses
                                   listed in the Service List. I did not receive, within a reasonable time after the transmission,
                            22     any electronic message or other indication that the transmission was unsuccessful.

                            23   ý [Federal]     I declare that I am employed in the offices of a member of the State Bar of this
                                                 Court at whose direction the service was made. I declare under penalty of
                            24                   perjury under the laws of the United States of America that the above is true and
                                                 correct.
                            25   Executed on March 6, 2024, at Los Angeles, California.
                            26                                                       /s/Ryan Gordon
                            27                                                              Ryan Gordon

                            28
                                                                            23
                                             DECLARATION OF RYAN GORDON IN SUPPORT OF FILING MOTIONS TO COMPEL
